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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                WICHITA FALLS DIVISION

                                                    )
 FRANCISCAN ALLIANCE, INC., et al.                  )
                                                    )
         Plaintiffs,                                )
                                                    )     Case No. 7:16-cv-00108-O
         v.                                         )
                                                    )
 XAVIER BECERRA, Secretary of Health                )
 and Human Services, et al.,                        )
                                                    )
         Defendants.                                )
                                                    )

                       REPLY IN SUPPORT OF DEFENDANTS’ RULE 60(b)
                                MOTION TO MODIFY ORDER

       Defendants respectfully request that the Court grant their motion under Rule 60(b) to

modify the Court’s August 16, 2021 Order for all the reasons stated in their motion and,

additionally, because Plaintiffs do not oppose the requested relief. See Pls.’ Response to Defs.’

Rule 60(b) Motion at 1, ECF No. 208 (“Pls.’ Response”).

       Despite Plaintiffs’ non-opposition, Defendants feel compelled to address Plaintiffs’

commentary in their response, which is misleading. Plaintiffs claim that there is a “contradiction”

between the arguments Defendants advanced in their supplemental briefing and those that

Defendants put forth in support of their Rule 60(b) motion. See Pls.’ Response at 1–2. That is

incorrect.

       In opposing Plaintiffs’ requested injunction on remand, Defendants argued that it was

speculative whether HHS would ever bring an enforcement action against the Plaintiffs or any of

their members. See Defs.’ Supp. Br. on Remand at 17–19, ECF No. 202 (“Defs.’ Supp. Br.”). But

that does not, of course, mean that HHS will never enforce Section 1557 against any entity.

Because Defendants do not know who is and who is not a member of the Plaintiff organizations,
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the Court’s current injunction could be read to preclude HHS from bringing an enforcement action,

and arguably from even investigating an alleged violation of Section 1557, even if HHS is unaware

that the relevant entity is covered by the injunction. Contrary to Plaintiffs’ suggestion, Defendants

have not indicated that they intend to bring an enforcement action against any particular entity.

They simply need clarity going forward, as required by Rule 65(d), to understand what conduct is

and is not prohibited by the Court’s order. Diligence in understanding this Court’s order is not

inconsistent with Defendants’ jurisdictional arguments.

       Plaintiffs are also wrong to argue that there has been any sort of “about-face.” Pls.’

Response at 1. Defendants specifically previewed in their supplemental brief on remand that, if

the Court were to grant Plaintiffs’ requested relief, Defendants would need either (1) to know the

identities of Plaintiffs’ members, or (2) to have in place “a mechanism for HHS to avoid the

possibility of unknowingly violating any injunction.” See Defs.’ Supp. Br. at 21 n.3. It should

therefore come as no surprise to Plaintiffs that Defendants seek to modify the Court’s order.

       Defendants respectfully ask that the Court grant their unopposed Rule 60(b) motion.

 Dated: September 28, 2021                           Respectfully Submitted,

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                                                     JENNIFER D. RICKETTS
                                                     Director, Federal Programs Branch

                                                     MICHELLE BENNETT
                                                     Assistant Branch Director, Federal Programs
                                                     Branch

                                                     /s/ Bradley P. Humphreys
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